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Debtor 1 Elizabeth Caymares

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Middle District of Pennsylvania
(State)

Case number 23-02305-MJC

Official Form 41081
Notice of Mortgage Payment Change 12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor: Guild Mortgage Company LLC Court claim no. (if known): 6

Last four digits of any number you XXXXXXX0740 Date of payment change:

use to identify the debtor’s account: Must be at least 21 days after date of 6/1/2024
this notice

New total payment:
Principal, interest, and escrow, if any $2,909.02

tn Escrow Account Payment Adjustment

1. Will there be a change in the debtor’s escrow account payment?

O No
Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
for the change. If a statement is not attached, explain why:

Current escrow payment: $ 1,021.47 New escrow payment: $1,039.19

foo Mortgage Payment Adjustment

2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
variable-rate account?

No

Ol Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
explain why:
Current interest rate: % New interest rate: %
Current principal and interest payment: $ New principal and interest payment: $

lr Other Payment Change

3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

No
O Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
(Court approval may be required before the payment change can take effect.)

Reason for change:

Current mortgage payment: $ New mortgage payment: $

otic For PAE: 23-Dk-02305- MGs BOFriga ltd, O0R/ OR seas 05/03/24 16:02:59 , Desc
Debtor 1 Elizabeth Caymares Case number (if known) 23-02305-MJC
First Name MiddleName Last Name

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.

Check the appropriate box.

Olam the creditor.

| am the creditor’s authorized agent

| declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.

X _/s/Evan Eberhardt Date 05/02/2024
Signature
Print: Evan Eberhardt Title Authorized Agent for Creditor
First Name Middle Name Last Name

Company McCalla Raymer Leibert Pierce, LLC

Address 1544 Old Alabama Road
Number Street

Roswell GA 30076
City State ZIP Code
Contact phone 659-268-0439 Email _evan.eberhardt@mccalla.com

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Bankruptcy Case No.: 23-02305-MJC
In Re: Chapter: 13
Elizabeth Caymares Judge: Mark J Conway

CERTIFICATE OF SERVICE

I, Evan Eberhardt, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

That I am, and at all times hereinafter mentioned, was more than 18 years of age;

That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Elizabeth Caymares
137 Dad Burnhams Rd
Pine Grove, PA 17963-8388

Michael A. Cibik (Served via ECF at help@cibiklaw.com)
Cibik Law, P.C.

1500 Walnut Street, Ste 900

Philadelphia, PA 19102

Jack N Zaharopoulos, Trustee (Served via ECF Notification)
Standing Chapter 13 Trustee

8125 Adams Drive, Suite A

Hummelstown, PA 17036

Asst. U.S. Trustee (Served via ECF Notification)
United States Trustee

US Courthouse 1501 N. 6th St

Harrisburg, PA 17102

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on: —_ 05/03/2024 By: /s/Evan Eberhardt

(date) Evan Eberhardt
Authorized Agent for Creditor

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W PO Box 85304 A E A t
San Diego, CA 92186-5304
Ul [] l é Customer Service: 1-800-365-4441 nnua Scrow ccoun

www.quildmortgage.com Disclosure Statement
mortgage NMLS #3274
Return Service Requested Statement Date: 04/22/2024
Loan # a
New Payment 06/01/2024

Effective Date:

ELIZABETH CAYMARES .
181 BOURLAND RD New Amount Due: $2,909.02

SMITHVILLE TX 78957-2151 Property Address

137 DAD BURNHAMS RD
PINE GROVE PA 17963

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* Every year, we review your escrow account to make sure there is enough money to cover your property taxes
and/or homeowner's insurance and not go below the minimum required balance.

¢ Your minimum required balance is a reserve which helps cover any unexpected increases in taxes and/or
insurance. This amount may include up to 2 months of anticipated escrow payments from the account, unless your
mortgage contract, State, or Federal law specifies a lower amount.

* Your annual escrow analysis details the amount we paid on your behalf since your last analysis and includes a
projection for the next 12 months.

¢ Learn more at www.quildmortqage.com/escrow.

HERE'S WHAT WE FOUND HERE'S WHAT WE ARE DOING

You have a shortage Shortage to be repaid
in the amount of $886.47 over 12 months $73.88

¢ Your taxes and/or insurance amount may have - Based on our projection, as of 06/01/2024 the

changed. escrow portion of your monthly mortgage payment will
* The shortage amount assumes there are no Sranigi
outstanding payments owed. * Your new monthly mortgage payment will be
_ 2,909.02.
¢ Note: If you have past due amounts, please sign into $
your account at www.guildmortgage.com * Note: If you have an adjustable-rate mortgage (ARM)
for the correct amount or call 1-800-365-4441. a separate notice will be sent before your payment is

scheduled to change.

To calculate the minimum required balance, we add up the total of your yearly escrow items (excluding mortgage
insurance) and divide the total by 12. We take this amount and multiply it by 2, as allowed by the State or Federal
laws and/or the mortgage contract. Maintaining an escrow reserve helps to cover any unexpected increases in taxes
and/or insurance.

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Lowest Projected Minimum Balance Amount Needed
Escrow Balance (Aug 2024) Required To Resolve Shortage
$505.81 $1,392.28 $886.47
(MINUS) (EQUALS)
(Reference Chart D) Calculated on chart (D) as: $73.88 a month for 12
$696.14 x 2 month(s) months

The shortage/surplus amount is a projection that assumes that there are no outstanding payments owed. If the loan is not
contractually current, the shortage/surplus amount does not represent the current escrow account balance.

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MONTHLY PAYMENT BREAKDOWN

Monthly Mo figage Payment Current Monthly Payment Difference
Principal & Interest $1,869.83 $0.00 $1,869.83
Escrow Account Deposit $1,021.47 ($56.16) $965.31
Shortage/Surplus Amount $0.00 $73.88 $73.88
Personal Insurance Amount $0.00 $0.00 $0.00
Total Monthly Payment $2,891.30 $17.72 $2,909.02

AMOUNTS?

WHO CHANGES THE ESCROW ITEM

ESCROW BASED UPON A

PROJECTION

Any changes to what you owe for taxes and
insurance are determined by your taxing
authorities and insurance provider, not Guild
Mortgage.

The amount of your escrow account monthly
deposit is based on disbursement
projections for the next year using what we
paid out the previous year.

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The next 4 charts provide (A) Summary of Escrow Account Disbursements, (B) Summary of Escrow Account Projections, (C) Escrow
Account Activity Details by Month, and (D) Escrow Account Projection Details by Month.

These charts list past tax and insurance item disbursements, as well as any surplus or shortage amounts that may have been

identified since your last escrow review.

(A) SUMMARY OF ESCROW ACCOUNT DISBURSEMENTS

Property Taxes $2,032.85
Property Insurance $1,963.70
Mortgage Insurance $1,615.02
Total Actual Escrow $5,611.57

This Table reflects an estimated amount based on the previous year's disbursement.
(B) SUMMARY OF ESCROW ACCOUNT PROJECTIONS

Projected of Menthe Sanaa Raacabae Bette i ATP ENP
Property Taxes 12 $532.47 $6,389.64
Property Insurance 12 $163.67 $1,964.04
Mortgage Insurance 12 $269.17 $3,230.04
Total Monthly Payment $965.31 $11,583.72
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